Case 2:24-cv-12962-GAD-EAS ECF No. 75-5, PagelD.5398 Filed 02/21/25 Page 1 of 2

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June 26, 2020

Ms. Shari Oliver
241 Whittington Drive
Centerville, Ohio 45459
VIA EMAIL ONLY

RE: Matthew Warren Oliver vs Shari Lynn Oliver
Case No. 20-880799-DC

Dear Shari:

Enclosed please find a true copy of the Dismissal Order entered by Judge Julie McDonald
in your above-referenced custody case filed by Matt. As you know, this case was dismissed and
all issues related to your children will be addressed under the divorce case I filed on your behalf.
I am providing this Dismissal Order to you for your records.

Please call me upon your receipt of this to discuss your pending divorce case. I look
forward to speaking with you soon.

Very truly yours,

Gin Br

Susan E. Cohen

SEC/as
enclosure
cc: Shari Oliver
FILED Received for Filing Oakland County Clerk 6/25/2020 1:10 PM

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Original - Court
1st copy - Applicant
Approved, SCAO Other copies - All appearing parties
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT 2020-880799-DC
6TH JUDICIAL CIRCUIT DIShES Sel:
COUNTY PROBATE

Court address
1200 N. Telegraph Road, Pontiac, MI 48341

Court telaphone no.

Plaintiffs name(s) and address(es)
MATTHEW WARREN OLIVER
4200 CURTIS ROAD
LEONARD, MI 48367

Defendant's name(s) and address(es)
SHARI LYNN OLIVER

z 241 WHITTINGTON

DAYTON, OH 45459

Plaintiffs attorney, bar no., address, and telephone no.
PHILIP G. VERA (P69926)

8300 HALL ROAD, STE 202
UTICA, MI 48317
(586) 991-1783

Defendant's attorney, bar no., address, and telephone no.
SUSAN E. COHEN (P45027)

40900 WOODWARD AVENUE, SUITE 111
BLOOMFIELD HILLS, MI 48304
(248) 644-5600

O [NOTICE OF DISMISSAL BY PLAINTIFF

1. Plaintiff/Attorney for plaintiff files this notice of dismissal of this case

CJ all defendants.
] the following defendant(s):

CJ with

( without prejudice as to:

2. I certify, under penalty of contempt, that:

a. This notice is the first dismissal filed by the plaintiff based upon or including the same claim against the defendant.
b. All costs of filing and service have been paid.
c. No answer or motion has been served upon the plaintiff by the defendant as of the date of this notice.

d. A copy of this notice has been provided to the appearing defendant/attorney by

Date

[4[STIPULATION TO DISMISS |

{J mail

] personal service.

Plaintiff/Attorney signature

C] with
| stipulate to the dismissal of this case LA without prejudice as to:
all parties.
C] the following parties:
06/24/2020
Date ifffAtiomey sign:
06/24/2020 or onl
Date ed signature
[Z| ORDER TO DISMISS
LJ with
IT 1S ORDERED this case is dismissed [4] without prejudice. Conditions, if any:

(¥] This order resolves the last pending claim and closes the case.

6/25/2020
Date

mc o9 (4/14) DISMISSAL

/s/ Julie A. McDonald

Bar no.
m
MCR 2.504

Judge
